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 1   Philip Cozens, State Bar Number 84051
 2   1007 Seventh Street, Suite 500
 3   Sacramento, CA 95814
 4
 5   Telephone: (916) 443-1504
 6
 7   Fax: (916) 443-1511
 8   Email: pcozens@aol.com
 9
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11
12                           IN THE UNITED STATES DISTRICT COURT
13
14                              EASTERN DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,           )                Case No. 2:11-CR-296 WBS
17                                       )
18         Plaintiff,                    )                STIPULATION RE STATUS
19                                       )                CONFERENCE AND
20                 v.                    )                ORDER
21                                       )
22   CHRISTIAN PARADA-RENTERIA,          )
23                                       )
24         Defendant.                    )
25   ____________________________________)

26          It is stipulated between the United States Attorney’s Office for the Eastern District of
27   California by Assistant United States Attorney Jean Hobler, Esq. and Defendant Christian
28   Parada-Renteria through his attorney Philip Cozens, Esq., that:
29          The Status Conference currently scheduled for September 6, 2016 at 9:00 a.m. in Judge
30   Shubb’s Court be re-scheduled for September 19, 2016 at 9:00 a.m. in Judge Shubb’s Court.
31   The stipulated continuance is necessary because Defendant Christian Parada-Renteria’s
32   attorney requires additional time to review the discovery in the case and confer with Defendant
33   regarding the pending plea agreement.
34          Time should be excluded for defense attorney preparation pursuant to Local Code T4
35   and the ends of justice outweigh the Defendant’s and the public’s interest in a speedy trial.
36   Time should be excluded from speedy trial calculations from September 6, 2016 through and
37   including September 19, 2016.


     STIPULATION RE STATUS CONFERENCE AND ORDER                                                 Page 1
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 1          It is so stipulated.
 2   Dated: September 2, 2016                     /s/ Jean Hobler, Esq.____________
 3                                                Jean Hobler, Esq.
 4                                                Assistant United States Attorney
 5                                                Eastern District of California
 6
 7                                                /s/ Philip Cozens_________________
 8                                                Philip Cozens
 9                                                Attorney for Defendant Christian Parada-Renteria
10                                               ORDER
11                  The court, having read and considered the above-stipulation and finding good
12   cause therefore, orders that the Status Conference currently scheduled for September 6, 2016 at
13   9:00 a.m. in Judge Shubb’s Court be re-scheduled for September 19, 2016 at 9:00 a.m. in Judge
14   Shubb’s Court. Time is excluded for defense attorney preparation pursuant to Local Code T4
15   and the court finds the ends of justice outweigh the Defendant’s and the public’s interest in a
16   speedy trial. Time will be excluded from speedy trial calculations from September 6, 2016
17   through and including September 19, 2016.
18   Dated: September 2, 2016
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     STIPULATION RE STATUS CONFERENCE AND ORDER                                                Page 2
